  Case 19-13485-SDM        Doc 170     Filed 09/26/23 Entered 09/26/23 10:23:45        Desc Order
                                     Closing Case Page 1 of 1
                                                                                     CM/ECF closbk
                                                                                     (Rev. 12/27/16)

                          UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF MISSISSIPPI

In Re: Mask Farms Holdings, LLC                   )                Case No.: 19−13485−SDM
       Debtor(s) in Possession                    )                Chapter: 12
                                                  )                Judge: Selene D. Maddox
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                          FINAL DECREE/ORDER CLOSING CASE
       The court having found that the estate of the above named debtor(s) in possession has been
fully administered in accordance with the procedures required by Fed. R. Bankr. P. 5009 or 3022;
it is
        ORDERED that the trustee (if any) herein is hereby discharged; that unless there is a
blanket bond herein, the trustee's surety is hereby discharged; that regardless of whether the
trustee's bond herein is a case bond or a blanket bond, the surety is relieved of any liability for the
actions or inactions of the trustee that may be incurred after the termination of its suretyship, but
is not relieved of any liability for the actions or inactions of the trustee incurred during its
suretyship; and that this case be and the same is hereby closed pursuant to 11 U.S.C., Section 350.
Dated and Entered: 9/26/23
                                                      Selene D. Maddox
                                                      Judge, U.S. Bankruptcy Court
